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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-cv-80198-ALTMAN/Brannon

  DAVID W. KAZNECKI,
  individually and on behalf of all others
  similarly situated,

           Plaintiff,
  v.

  COLDWELL BANKER REAL
  ESTATE LLC,
  a California Corporation,

        Defendant.
  ________________________________/

                                ORDER OF DISMISSAL WITH PREJUDICE

           The Parties filed a Joint Stipulation of Voluntary Dismissal with Prejudice [ECF No. 24] in

  accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Being fully advised, the Court

  hereby ORDERS AND ADJUDGES that this matter is DISMISSED with prejudice. Each party

  shall bear its own fees and costs. The Clerk shall CLOSE the case. All pending deadlines and

  hearings are TERMINATED, and any pending motions are DENIED AS MOOT.

           DONE AND ORDERED in Fort Lauderdale, Florida this 21st day of May 2021.




                                                           _________________________________
                                                           ROY K. ALTMAN
                                                           UNITED STATES DISTRICT JUDGE
  cc:      counsel of record
